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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF MINNESOTA


 In re:                                                 Case No. 24-30760
                                                        Chapter 7
 Minnesota Implant Center, P.L.L.C.,

                        Debtor.


    MEMORANDUM OF LAW SUPPORTING THE TRUSTEE’S MOTION FOR ORDER
                  AUTHORIZING 2004 EXAMINATIONS


          The trustee submits this memorandum of law in support of her motion for an order authorizing

2004 examinations.

                                       FACTUAL BACKGROUND

          The trustee incorporates the facts as set forth in the notice of motion by reference.

                                          LEGAL ARGUMENT

          Rule 2004 of the Federal Rules of Bankruptcy Procedure provides that a court may order an

examination of “any entity.” Fed. R. Bankr. P. 2004(a). Rule 2004(c) authorizes using the court’s

subpoena power pursuant to Rule 9016 to compel the production of documents. Any interested party

may seek a Rule 2004 examination which relates to “the acts, conduct, or property or to the liabilities

and financial conditions of the debtor, or to any matter which may affect the administration of the

debtor’s estate, or to the debtor’s right to a discharge.” Fed. R. Bank. P. 2004(b). The scope of inquiry

under Rule 2004 is broad and great latitude is ordinarily permitted. See In re Symington, 209 B.R. 678,

682-84 (Bankr. D. Md. 1997).

          The purpose of Rule 2004 is to give “parties in interest an opportunity to examine those

individuals having knowledge of the financial acts and affairs of a debtor.” In re GHR Energy Corp.,

35 B.R. 534, 536 (Bankr. D. Mass. 1983); see also Longo v. McLaren (In re McLaren), 158 B.R. 655,

657 (Bankr. N.D. Ohio 1992). Rule 2004 affords the examiner an even broader inquiry than that
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afforded by the discovery rules set forth in the Federal Rules of Civil Procedure, which themselves

contemplate broad and easy access to discovery.

        Here, the trustee seeks to examine C T Corporation System and Wolters Kluwer in connection

with a UCC-1 Financing Statement it filed on behalf of a secured creditor of the debtor.              The

examinations and related document requests relate to the acts, conduct, and property or to the liabilities

and financial conditions of the debtor, and fall within the parameters set forth by bankruptcy courts and

Rule 2004.

                                              CONCLUSION

        For the reasons set forth in the motion and in this memorandum, the trustee respectfully requests

that the motion be granted.

Dated: April 18, 2024                           MANTY & ASSOCIATES, P.A.

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